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Attorneys for Plaintiff

                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEVADA

DIGITAL VERIFICATION SYSTEMS,         §
LLC,                                  §
                                      §
      Plaintiff,                      §                     Case No: 2:21-cv-01484-GMN-VCF
                                      §
vs.                                   §                     PATENT CASE
                                      §
TRUSTIFI, LLC,                        §
                                      §
      Defendant.                      §
_____________________________________ §

           NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        Plaintiff Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”) files this Notice

 of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure

 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

 without order of court by filing a notice of dismissal at any time before service by the adverse

 party of an answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against

 Defendant Trustifi, LLC without prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to

 bear its own fees and costs.




NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                            |1
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Dated: September 8, 2021.                   Respectfully submitted,


                                            /s/Keith D. Routsong, Esq.
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                                            ATTORNEYS FOR PLAINTIFF

                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
September 8, 2021, and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.

                                            /s/Keith D. Routsong, Esq.
                                            Keith D. Routsong, Esq.




NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE                                          |2
